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    EXHIBIT 5
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From:            Dell, Rebecca (USANYS)
To:              Swett, Sebastian (USANYS); Wikstrom, Derek (USANYS); Dell, Rebecca (USANYS)
Subject:         2024.06.25 Call with Chris Doyle
Date:            Tuesday, June 25, 2024 4:45:55 PM


2024.06.25 Call with Chris Doyle, Michael Maniscalco, Rebecca Dell, Sheb Swett

       In 2022: CD had familiarity with Deripaska network; CD was asked if Pandean was familiar with
       to him; it was not immediately familiar; CD conducted open source searching on the name
       Ariana Lazarou and address in Cyprus and provided results; CD searched address and name in
       Cyrilic and English
               Address is listed in EN+ and Rusal paperwork and affiliated with LG&A

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